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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )
                                         )           8:05CR365
                    Plaintiff,           )
                                         )
       vs.                               )            ORDER
                                         )
MATTHEW J. LAYTON,                       )
                                         )
                    Defendant.           )



       Defendant’s Motion for Psychiatric Evaluation (Filing No. 59) is scheduled for
hearing before the undersigned magistrate judge at 11:00 a.m. on February 3, 2006, in
Courtroom No. 7, Second Floor, Roman L. Hruska United States Courthouse, 111 South
18th Plaza, Omaha, Nebraska.
       This being a criminal case, defendant must be present unless otherwise ordered by
the court.
       DATED this 2nd day of February, 2006.
                                               BY THE COURT:


                                               s/ Thomas D. Thalken
                                               United States Magistrate Judge
